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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                    4:11CR3101
                                               )
               v.                              )
                                               )         MEMORANDUM AND ORDER
JEANNA RENEE SPRINGER,                         )
                                               )
                      Defendant.               )

       Defendant Jeanna R. Springer remains indigent and in need of non-custodial transportation
and subsistence for travel from Lincoln, Nebraska to Keewatin, Minnesota following her suppression
hearing on December 20, 2011.

       Accordingly,

       IT IS ORDERED:

       1)      Defendant’s Springer’s motion for noncustodial transportation, (filing no. 52), is
               granted.

       2)      The U.S. Marshal shall provide non-custodial transportation and subsistence for
               lodging and meals during the period of travel for defendant Jeanna R. Springer to
               travel from Lincoln, Nebraska to Keewatin, Minnesota following her hearing
               scheduled in Lincoln, Nebraska on December 20, 2011.

       3)      The clerk shall email a copy of the memorandum and order to the Marshal.

       DATED this 8th day of December, 2011.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
